       Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 1 of 28




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




State of Colorado, et.al.,
Plaintiffs.

              v/             Case no. 1:20-cv-03715-APM
                             Hon. Amit P. Mehta
Google, LLC,
Defendant.




                 BRIEF OF PROPOSED AMICUS CURIAE
  THE AMERICAN ANTITRUST INSTITUTE IN SUPPORT OF PLAINTIFF STATES
      OPPOSITION TO GOOGLE’S MOTION FOR SUMMARY JUDGMENT




KATHLEEN BRADISH
AMERICAN ANTITRUST INSTITUTE
1025 Connecticut Avenue, N.W.
Suite 1000
Washington, DC 20036
(202) 304-0195
Counsel for Amicus Curiae




February 17, 2023
          Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 2 of 28




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... ii

INTEREST OF AMICUS CURIAE .............................................................................................. 1

INTRODUCTION AND SUMMARY OF ARGUMENT ............................................................ 2

ARGUMENT ................................................................................................................................. 3

I.        GOOGLE’S ACTIONS SHOULD BE ANALYZED AS A WHOLE BECAUSE
          THE STATES ALLEGE MUTUALLY REINFORCING CONDUCT ............................ 3

             A.      In General, Antitrust Allegations Need to be Analyzed as a Whole,
                     Especially Where Plaintiffs Allege Section 2 Monopolization ............................. 4

             B.      Google Misconstrues Microsoft in Order to Improperly Segment
                     State's Claims ......................................................................................................... 7

             C.      The States' Allegations Should Not be Compartmentalized Because They
                     Describe Mutually Reinforcing Conduct ............................................................... 8

             D.      This Court Should Consider the Cumulative Effect of Google’s Conduct
                     When Assessing Market Foreclosure ..................................................................... 9

II.       GOOGLE IMPROPERLY INVOKES A PATCHWORK OF INAPPLICABLE
          DOCTRINES ON EXCEPTIONS TO ANTITRUST SCRUTINY ..................................11

             A. Google Cannot Use Product Design as a Shield Against Antitrust Scrutiny .......... 12

             B. Google Cannot Use "No Duty to Deal" to Obtain Immunity ................................. 18

CONCLUSION ............................................................................................................................. 21

CERTIFICATE OF SERVICE..................................................................................................... 23




                                                                      i
         Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 3 of 28




                                               TABLE OF AUTHORITIES

Cases

Abbott Lab’ys v. Teva Pharms. USA, Inc.,
 432 F. Supp. 2d 408 (D. Del. 2006) ............................................................................... 9, 13, 15

Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP,
  592 F.3d 991 (9th Cir. 2010) .............................................................................................. Passim

Arthur S. Langenderfer, Inc. v. S.E. Johnson Co.,
  917 F.2d 1413 (6th Cir. 1990) ..................................................................................................... 5

Aspen Skiing Co. v. Aspen Highlands Skiing Corp.,
  472 U.S. 585 (1985) .............................................................................................................. 4, 10

Berkey Photo, Inc. v. Eastman Kodak Co.,
  603 F.2d 263 (2d Cir. 1979) ...................................................................................................... 17

Biovail Corp. Int’l v. Hoechst Aktiengesellschaft,
  49 F. Supp. 2d 750 (D.N.J. 1999) .................................................................................... 8, 10, 11

Bonjorno v. Kaiser Aluminum & Chem. Corp.,
 752 F.2d 802 (3d Cir. 1984) ........................................................................................................ 8

Cal. Comp. Prods., Inc. v. IBM,
 613 F.2d 727 (9th Cir. 1979) ............................................................................................... 14, 16

Caldera, Inc. v. Microsoft Corp.,
 72 F. Supp. 2d 1295 (D. Utah 1999) ......................................................................................... 12

City of Anaheim v. S. Ca. Edison Co.,
  955 F.2d 1373 (9th Cir. 1992) ............................................................................................. 4, 5, 6

City of Groton v. Connecticut Light & Power Co.,
  662 F. 2d 921 (2d Cir. 1981) ................................................................................................. 6, 11

Continental Ore Co. v. Union Carbide & Carbon Corp.,
 370 U.S. 690 (1962) ......................................................................................................... 3, 4, 11

GAF Corp. v. Eastman Kodak Co.,
 519 F. Supp.1203, 1228 (S.D.N.Y. 1981) ................................................................................ 17

In re High Fructose Corn Syrup Antitrust Litig.,
  295 F.3d 651 (7th Cir. 2002) ................................................................................................... 6, 7



                                                                    ii
         Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 4 of 28




In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig.,
  383 F. Supp. 3d 187 (S.D.N.Y. 2019) ....................................................................................... 18

In re Suboxone Antitrust Litig.,
  967 F.3d 264 (3d Cir. 2020) ........................................................................................................ 8

LePage’s, Inc. v. 3M,
  324 F.3d 141 (3d Cir. 2003) .......................................................................................... 4, 5, 9, 10

MCI Commc’ns Corp. v. Am. Tel. & Tel. Co.,
 708 F.2d 1081 (7th Cir. 1983) ..................................................................................................... 5

New York ex rel. Schneiderman v. Actavis PLC,
 787 F.3d 638 (2d Cir. 2015) .................................................................................................. 5, 17

Pacific Bell Telephone Co. v. linkLine Communications, Inc.,
 555 U.S. 438 (2009) ................................................................................................................. 18

Power Analytics Corp. v. Operation Tech., Inc.,
 820 F. App’x 1005 (Fed. Cir. 2020) .................................................................................... 14, 16

Retractable Techs., Inc. v. Becton Dickinson & Co.,
  842 F.3d 888 (5th Cir. 2016) ....................................................................................................... 7

Sanitary Milk Producers v. Bergjans Farm Dairy, Inc.,
  368 F.2d 679 (8th Cir. 1966) ....................................................................................................... 5

United States v. Microsoft Corp.,
 253 F.3d 34 (D.C. Cir. 2001) ............................................................................................. Passim

Verizon Commc’ns., Inc. v. Law Offices of Curtis V. Trinko, LLP,
  540 U.S. 398 (2004) ..................................................................................................... 14, 20, 21

W. Penn Allegheny Health Sys., Inc. v. UPMC,
 627 F.3d 85 (3d Cir. 2010) .......................................................................................................... 5

Other Authorities

Christopher R. Leslie, The Probative Synergy of Plus Factors in Price-Fixing Litigation,
 115 Nw. U. L. Rev. 1581 (2021) ................................................................................................. 6

Dennis Carlton & Ken Heyer, Appropriate Antitrust Policy Toward Single-Firm Conduct,
 Economic Analysis Group, Antitrust Div., U.S. Dep’t of Just.
 (Discussion Paper No. 08-2, March 2008) ............................................................................... 19




                                                                   iii
         Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 5 of 28




John Newman, Antitrust in Digital Markets,
  72 Vand. L. Rev. 1497 (2019) ................................................................................................... 15

Jonathan Jacobson, et al., Predatory Innovation: An Analysis of Allied Orthopedic v. Tyco
  in the Context of Section 2 Jurisprudence,
  23 Loyola Consumer L. Rev. 1, 8 (2010) ................................................................................. 15

Katherine Strandburg, Free Fall: The Online Market’s Consumer Preference Disconnect,
 U. Chicago L. Forum (2013) .................................................................................................... 16

Phillip Areeda & Herbert Hovenkamp, Antitrust Law (5th ed. 2022) .................................. Passim




                                                                 iv
        Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 6 of 28




                                  INTEREST OF AMICUS CURIAE

        AAI is an independent, nonprofit organization devoted to promoting competition that

protects consumers, businesses, and society. It serves the public through research, education,

and advocacy on the benefits of competition and the use of antitrust enforcement as a vital

component of national and international competition policy. AAI enjoys the input of an

Advisory Board that consists of over 130 prominent antitrust lawyers, law professors,

economists, and business leaders. See http://www.antitrustinstitute.org. 1

        Amicus’ interest in this matter is that the organization is a public interest advocate

seeking to improve the administration of the antitrust laws and to ensure that antitrust

enforcement best serves the interests of competition and consumers. The Court’s decision in this

matter affects the Amicus because those goals cannot be achieved if the enforcement under

Section 2 of the Sherman Act is weakened so that monopolists can cut loopholes in the caselaw

by creatively repackaging their conduct or if doctrines designed to limit the scope of antitrust in

specific, narrow circumstances are expanded to immunize a broad range of harmful and

anticompetitive conduct. To avoid such a result, courts must apply the Supreme Court’s mandate

to assess the whole scope of the monopolist’s exclusionary conduct, rather than assessing each

component separately and “wiping the slate clean” after each. Courts must also not blindly and

broadly apply doctrines about the limitations of antitrust to “immunize” a wide array of

monopolistic conduct. Such doctrines must be applied narrowly and only in cases consistent

with the policy concerns that first prompted them if they are not to undermine valid Section 2

enforcement. The Court’s decision here has the potential to have a lasting effect on both counts.



1 Individual views of members of AAI’s Board of Directors or Advisory Board may differ from AAI’s positions.




                                                       1
       Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 7 of 28




                   INTRODUCTION AND SUMMARY OF ARGUMENT

        The States, along with the United States Department of Justice, allege that Google has

constructed a web of restrictive contracts and conduct that blocks the path of any challenger to

Google’s monopolies in general search and search advertising. Google does not contest its

market position, but instead claims that there can be no violation because each of its restrictions,

viewed in isolation, does not meet the criteria for Sherman Act Section 2 liability. Defendant’s

analysis mischaracterizes the precedent in two ways, both of which present a danger to effective

Section 2 enforcement.

        First, Google’s divide and conquer approach ignores the Supreme Court’s directive to

consider the whole of the alleged antitrust violation and not “wipe the slate clean” after

analyzing each component. As discussed in detail below, precedent requires that the

anticompetitive effect of each individual restriction be assessed in light of the overall

anticompetitive scheme. Any other rule would, as a practical matter, carve a giant loophole in

Sherman Act enforcement. A sufficiently clever monopolist could legalize monopolistic conduct

by imposing a variety of interrelated and mutually reinforcing restrictions instead of a one-size-

fits-all approach or by hiring a sufficiently clever lawyer to chop up the anticompetitive scheme.

In short, a mandate to consider each alleged restriction for its role in an anticompetitive scheme

is not, as Google would have it, a requirement that the court consider each claim in the isolation

of its own silo.

        Second, after slicing up Plaintiffs’ allegations into artificially isolated restrictions,

Google attempts to force them into categories it then claims are immunized by precedent,

including product design, refusal to deal, and price-squeeze. A closer look, however, shows that

(1) the claimed “immunizations” do not sweep nearly as broadly as Google suggests, and (2)




                                                   2
       Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 8 of 28




Google’s alleged actions should not be confined to these categories at all. For example, Google

isolates the States’ allegations regarding restrictions on the display of Specialized Vertical

Providers (SVPs) on the Google search results page to suggest that the States claim only a

predatory product design that is not cognizable under Section 2. But that suggestion ignores

caselaw on product design that does allow antitrust scrutiny, and the States’ allegation that the

design is just one component of a broader scheme that strips nascent competitors of a potential

path to entry. Here and elsewhere, Defendant mischaracterizes the alleged restriction, a means

of preventing new entry, as an end in itself. Defendant cannot avoid trial on the facts by

invoking a patchwork of inapplicable caselaw on narrow exceptions to antitrust scrutiny.

                                           ARGUMENT

I.     GOOGLE’S ACTIONS SHOULD BE ANALYZED AS A WHOLE BECAUSE
       THE STATES ALLEGE MUTUALLY REINFORCING CONDUCT

       A central flaw in Google’s motion for summary judgement is that it recasts the States’

allegations into three isolated “purportedly anticompetitive acts” and asks the court to disregard

their combined effect. Google Mot. Summ. J., Case 1:20-cv-03010-APM, Doc. No. 452, at 1

[Google State MSJ]. This is contrary to precedent, particularly where, as here, a defendant’s

anticompetitive acts are interrelated and mutually reinforcing. See Continental Ore Co. v. Union

Carbide & Carbon Corp., 370 U.S. 690 (1962); United States v. Microsoft Corp., 253 F.3d 34

(D.C. Cir. 2001) (en banc) (per curiam).

       In Continental Ore, a unanimous Supreme Court admonished the Ninth Circuit Court of

Appeals for treating the plaintiff’s Sherman Act Sections 1 and 2 antitrust claims “as if they were

five completely separate and unrelated lawsuits.” Cont’l Ore Co., 370 U.S. at 698-99. After

vacating and remanding the judgment, the Supreme Court held that an antitrust matter is “not to

be judged by dismembering it and viewing its separate parts, but only by looking at it as a



                                                  3
       Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 9 of 28




whole.” Id.; see also Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 599

(1985) (approving that “the Court of Appeals considered the record ‘as a whole’ and concluded

that it was not necessary for Highlands to prove that each allegedly anticompetitive act was itself

sufficient to demonstrate an abuse of monopoly power”); City of Anaheim v. S. Ca. Edison Co.,

955 F.2d 1373, 1376 (9th Cir. 1992) (“[I]t would not be proper to focus on specific individual

acts of an accused monopolist while refusing to consider their overall combined effect.”). As

such, “plaintiffs should be given the full benefit of their proof without tightly

compartmentalizing the various factual components and wiping this slate clean after each.”

Cont’l Ore, 370 U.S. at 698-99.

       Plaintiffs are entitled to present their complete case so that the factfinder can fulfill its

“duty […] to look at the whole picture and not merely at the individual figures in it.” Id.;

LePage’s, Inc. v. 3M, 324 F.3d 141, 162 (3d Cir. 2003) (“The relevant inquiry is the

anticompetitive effect of 3M’s exclusionary practices considered together.”).

       A. In General, Antitrust Allegations Need to be Analyzed as a Whole, Especially
          Where Plaintiffs Allege Section 2 Monopolization

       It is not contradictory for plaintiffs to claim that that each individual act is an antitrust

violation and that a group of acts, taken together, have an anticompetitive impact. Lepage’s, 324

F.3d at 154-59 (examining alleged exclusionary conduct individually and as a whole). When

plaintiffs so plead, courts should examine those claims as a whole, especially where the conduct

at issue is alleged to be interrelated and mutually reinforcing. See Phillip Areeda & Herbert

Hovenkamp, Antitrust Law ¶ 310c7 (5th ed. 2022) (“[E]ach [act] viewed in isolation might be

viewed as de minimis or an error in judgment, but the pattern gives increased plausibility to the

claim.”); LePage’s, 324 F.3d at 162 (“The effect of 3M’s conduct in strengthening its monopoly

position by destroying competition by LePage’s in second-tier tape is most apparent when 3M’s



                                                   4
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 10 of 28




various activities are considered as a whole. . . . 3M’s bundling of its products via its rebate

programs reinforced the exclusionary effect of those programs.”) (emphasis added). This makes

practical sense because a monopolist bent on preserving its dominant position is “likely to

engage in repeated and varied exclusionary practices.” See Areeda & Hovenkamp, Antitrust Law

¶ 310 c7. Therefore “[t]he fact finder should be permitted to consider the entire sum of unlawful

exclusionary practices and their impact.” Id.

       Courts routinely assess the cumulative anticompetitive effect of a Section 2 defendant’s

conduct. See, e.g., LePage’s, 324 F.3d at 162 (“The relevant inquiry is the anticompetitive effect

of [the defendant’s] exclusionary practices considered together.”); W. Penn Allegheny Health

Sys., Inc. v. UPMC, 627 F.3d 85, 108 (3d Cir. 2010) (holding courts must take anticompetitive

conduct “as a whole” when evaluating whether required injury to competition was met under

Section 2); City of Anaheim, 955 F.2d at 1376 (“[I]t would not be proper to focus on specific

individual acts of an accused monopolist while refusing to consider their overall combined

effect.”); New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 653-54 (2d Cir. 2015)

(examining plaintiffs’ claims and proof as a whole and for synergistic effects); Sanitary Milk

Producers v. Bergjans Farm Dairy, Inc., 368 F.2d 679, 691 (8th Cir. 1966) (“[A]n act in itself

may be legal, but it still may become involved in an antitrust violation when it is ‘part and parcel

of unlawful conduct or agreement with others or conceived in a purpose to unreasonably restrain

trade, control the market, or monopolize . . . We must consider the evidence as a whole.”); MCI

Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1161 (7th Cir. 1983) (finding Section 2

liability because “damages ar[o]se from a series of unlawful acts intertwined with one another.”);

Arthur S. Langenderfer, Inc. v. S.E. Johnson Co., 917 F.2d 1413, 1443–44 (6th Cir. 1990) (“The




                                                  5
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 11 of 28




[factfinder] is entitled to look at the whole picture with respect to allegations and evidence of

Sherman Act Section 2 violations.”) (internal citation omitted).

       Ignoring the aggregate and synergistic effects of monopolistic acts would carve a vast

loophole in Section 2. Without analyzing each of a monopolists’ actions in the context of the

whole, a factfinder cannot see their conduct’s full anticompetitive impact. Adopting this myopic

approach would thus create a dangerous blind spot that allows a monopolist to evade liability.

See City of Groton v. Connecticut Light & Power Co., 662 F. 2d 921, 929 (2d Cir. 1981)

(holding the proper inquiry is whether, qualitatively, there is a synergistic effect.”); see also City

of Anaheim, 955 F.2d at 1376 (“[I]t would not be proper to focus on specific individual acts of an

accused monopolist while refusing to consider their overall combined effect.”); Christopher R.

Leslie, The Probative Synergy of Plus Factors in Price-Fixing Litigation, 115 Nw. U. L. Rev.

1581, 1646-47 (2021) (comparing the outcomes of concurrent antitrust litigation to conclude that

those opinions which “compartmentalized” individual allegations allowed sophisticated

defendants to “evade antitrust liability”).

       Google’s divide and conquer approach to the States’ allegations is particularly

inappropriate at the summary judgment stage. As Judge Posner famously wrote, the “trap to be

avoided in evaluating evidence of an antitrust [violation] for purposes of ruling on the

defendants’ motion for summary judgment is to suppose that if no single item of evidence

presented by the plaintiff points unequivocally to [a violation], the evidence as a whole cannot

defeat summary judgment.” In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 655

(7th Cir. 2002). Instead, a defendant’s motion for summary judgment cannot succeed if a

reasonable jury could find that “when the evidence was considered as a whole, it was more likely

that the defendants had” engaged in the alleged anticompetitive conduct than that they had not.




                                                  6
       Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 12 of 28




Id. at 655-56 (emphasis added). The essential question at the summary judgment is not whether

each “single piece” of evidence “is sufficient in itself to prove [the violation]. . . . The question is

simply whether this evidence, considered as a whole and in combination with the economic

evidence, is sufficient to defeat summary judgment.” Id.

         B. Google Misconstrues Microsoft in Order to Improperly Segment State’s Claims

         Google depicts the D.C. Circuit’s Microsoft decision as limiting the court’s assessment of

an alleged Section 2 violation to “separately analyzing each category of conduct.” Google Mot.

Summ. J., Case 1:20-cv-03010-APM, Doc. No. 451, at 24 [Google DOJ MSJ].2 This is not

correct. The Microsoft court, in fact, begins its analysis by noting the need to consider the

mutually reinforcing effects of anticompetitive acts, even if those acts took place in separate

markets. Microsoft, 253 F.3d at 60. Throughout its analysis, the court considers synergistic

anticompetitive effects. The court assesses Microsoft’s decision to deny interoperability, for

example, against the “backdrop of foreclosure” created by its other anticompetitive acts,

including “Microsoft’s exclusive deals with the leading ISVs.” Id. at 75. Ultimately, the court

concludes that Microsoft’s anticompetitive conduct in the browser market reinforced its

monopolization of the operating systems market. Id. at 60 (“Microsoft’s efforts to gain market

share in one market (browsers) served to meet the threat to Microsoft’s monopoly in another

market (operating systems) by keeping rival browsers from gaining the critical mass of users


2
  Google cites Retractable Techs., Inc. v. Becton Dickinson & Co., as another example of a court analyzing each
“category of conduct” separately. 842 F.3d 888, 891-92 (5th Cir. 2016). Google ignores, however, that the court in
Retractable Techs. chose to analyze each category of conduct separately only after the jury had already rejected the
“critical” factual predicates that would have tied together plaintiffs’ claims. Id. (“Critical to our analysis is that the
jury verdict significantly narrowed the factual predicate for potential antitrust liability by rejecting RTI's case for
exclusionary contracting practices by BD.”). Even more importantly, the court in Retractable Techs. did not
prematurely rule on questions of market foreclosure at the summary judgment stage, as Google’s Motion urges.
Rather, the Retractable Techs. court appropriately allowed the very questions at issue here, including those about
market foreclosure and mutually reinforcing conduct, to be considered at trial by the ultimate factfinder, the jury.
See id. (ruling that Defendant had only during trial “successfully rebutted the testimony of over a dozen [customers]
that BD's practices did not foreclose their ability to choose among competing products.”].


                                                            7
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 13 of 28




necessary to attract developer attention away from Windows as the platform for software

development.”).

       Google is wrong that Microsoft stands for the proposition that courts must “individually

evaluate whether different types of conduct are exclusionary,” especially when a plaintiff alleges

that those types of conduct interrelate. See Google DOJ MSJ at 24. Rather, under both

Continental Ore and Microsoft, courts must look at “all the acts taken together [to determine

whether they] show the willful acquisition or maintenance of a monopoly.” Bonjorno v. Kaiser

Aluminum & Chem. Corp., 752 F.2d 802, 813 (3d Cir. 1984); see also Biovail Corp. Int’l v.

Hoechst Aktiengesellschaft, 49 F. Supp. 2d 750, 760 (D.N.J. 1999) (“[D]efendants contend, at

various points in their brief, that one particular allegation or another did not cause Biovail injury

and, therefore, must be dismissed. . . . The allegations, however, under Continental Ore, should

not be so ‘tightly compartmentaliz[ed].’”).

       C. The States’ Allegations Should Not be Compartmentalized Because They
          Describe Mutually Reinforcing Conduct

       Each of the States’ allegations is so related to the others that it should not be examined

separately. The States’ theory is that Google’s actions constitute a “campaign” to “entrench[]

and solidif[y] its monopoly positions against competition in the markets at issue.” Complaint at

¶¶ 103, 207 (describing how Google’s actions “individually and cumulatively harm competition”

in those markets) (emphasis added); Compare In re Suboxone Antitrust Litig., 967 F.3d 264, 270

(3d Cir. 2020) (“Purchasers theory of the case, however, is not simply that Reckitt’s pricing of

brand tablets individually caused harm. Rather, they allege that the totality of Reckitt’s

actions . . . suppressed generic competition and thus violated the antitrust laws.”) (internal

citations omitted). As part of that campaign, each alleged anticompetitive act operated in

conjunction with the others to foreclose competition in the interrelated markets of general search



                                                  8
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 14 of 28




engine services, general search text advertising, and general search advertising. See, e.g., Tr. of

Tutorial Presentation Proceedings at 127:12-21, Case 1:20-cv-03010-APM, Doc. No. 393 (Sept.

8, 2022) [Tutorial Tr.] (describing how Google’s different types of exclusionary conduct

weakens partnerships between general search and SVPs from “both directions”).

       The acts that the States allege together contribute to a cumulative end, “building an

impenetrable moat” around Google’s market dominance. Complaint ¶¶ 9, 39. The allegations

regarding Google’s exclusionary search distribution agreements, its actions to weaken SVPs and

its discriminatory practices regarding SA360 are, for example, part of a “connected narrative.”

Tutorial Tr. at 110:15-111:3. Given the interdependent nature of Google’s conduct and its

common object of “entrench[ing] and solidif[ying] its monopoly positions against competition,”

this court should analyze the State’s allegations as a whole. Complaint ¶ 103; see also

Microsoft, 253 F.3d at 66-67 (finding Microsoft’s goal in comingling code was to “mak[e] it

impossible to acquire one without the other”); LePage’s, 324 F.3d at 162 (analyzing allegations

as a whole because “the anticompetitive effect of 3M's exclusive dealing arrangements, whether

explicit or inferred, cannot be separated from the effect of its bundled rebates. 3M’s bundling of

its products via its rebate programs reinforced the exclusionary effect of those programs.”);

Abbott Lab’ys v. Teva Pharms. USA, Inc., 432 F. Supp. 2d 408, 428 (D. Del. 2006) (“When

determining antitrust liability based on a collection of factual allegations, the courts must look to

the monopolist's conduct taken as a whole rather than considering each aspect in isolation.”)

(internal citations omitted).

       D. This Court Should Consider the Cumulative Effect of Google’s Conduct When
          Assessing Market Foreclosure

   In Section 2 monopolization cases, a central question is whether defendant’s actions

effectively foreclosed a substantial amount of the market. To answer that question, a court



                                                  9
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 15 of 28




should consider the cumulative foreclosure from the alleged anticompetitive acts. Areeda &

Hovenkamp, Antitrust Law ¶ 310 c7 (“[A]ggregating a monopolist’s disparate acts in order to

determine liability makes perfect sense because “one can imagine a case in which a half dozen

independently unlawful acts each had an impact insufficient to warrant antitrust relief, but the

impact of the aggregation was substantial.”); Aspen Skiing Co. at 599 (explaining that because

the “Court of Appeals considered the record ‘as a whole’ ... it was not necessary for Highlands to

prove that each allegedly anticompetitive act was itself sufficient to demonstrate an abuse of

monopoly power”).

   Google’s divide and conquer approach to market foreclosure is impermissible because it gets

the order of operations wrong. A court should “first examine whether an antitrust violation has

been alleged; then, if a violation has been alleged, the court will examine whether—as a result of

all of the violations alleged—[defendant] has suffered ‘injury of the type the antitrust laws were

intended to prevent and that flows from that which makes defendants' acts unlawful.” Biovail,

49 F. Supp. 2d at 760; Lepage’s, 324 F.3d at 158-59 (“LePage’s produced evidence that the

foreclosure caused by exclusive dealing practices was magnified by 3M’s discount practices.”).

   The Microsoft court took such an aggregate approach. For example, it assessed the

cumulative impact of Microsoft’s alleged anticompetitive acts in foreclosing channels of browser

distribution. Microsoft Corp., 253 F.3d at 72 (“Although the ISVs are a relatively small channel

for browser distribution, they take on greater significance because, as discussed above, Microsoft

had largely foreclosed the two primary channels to its rivals.”). It was only in “light” of the

foreclosure resulting from other allegations that “Microsoft’s exclusive deals with the ISVs had a

substantial effect in further foreclosing rival browsers from the market.” Id.




                                                 10
        Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 16 of 28




      The States here allege a web of actions that foreclosed competition in the markets that

Google dominates. See, e.g, Tutorial Tr. at 97:11-19 and forward (describing how States’ three

types of alleged harm that are not just “additive” but work together to foreclose competition). At

the summary judgment stage, the proper question is whether a reasonable jury could find that

Google’s actions “as a whole” substantially foreclosed the marketplace. See City of Groton, 662

F.2d at 929; Biovail, 49 F. Supp. 2d at 760 (“[T]he court will first examine whether an antitrust

violation has been alleged; then, if a violation has been alleged, the court will examine

whether—as a result of all of the violations alleged—Biovail has suffered injury of the type the

antitrust laws were intended to prevent...”). To do otherwise would be irrational and permit

monopolists to inflict a thousand anticompetitive cuts, many perhaps causing only small amount

of foreclosure, but that collectively disable competition in the relevant markets. See Cont’l Ore,

370 U.S. at 698-99; Areeda & Hovenkamp, Antitrust Law ¶ 310 c7 (concluding for this reason

that “[t]he fact finder should be permitted to consider the entire sum of unlawful exclusionary

practices and their impact.”). A legal conclusion that a particular anticompetitive act caused

insufficient market foreclosure is meaningless if the sum of such acts resulted in sufficient

market foreclosure for a Section 2 violation. Therefore, a matter of both logic and sound

antitrust law, the foreclosing effects of Google’s anticompetitive conduct should be considered

as a whole.

II.      GOOGLE IMPROPERLY INVOKES A PATCHWORK OF INAPPLICABLE
         DOCTRINES ON EXCEPTIONS TO ANTITRUST SCRUTINY

         After artificially carving up the States’ allegations, Google invokes various doctrines

about supposed exceptions to antitrust scrutiny, including judicial concerns about claims based

on product design, price squeeze, and refusal to deal. See, e.g., Google State MSJ at 20-7, 30-5.

Google then asserts a kind of “immunity” or antitrust safe harbor for each isolated kind of


                                                  11
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 17 of 28




conduct. In so doing, it distorts the law and ignores context that renders the doctrines

inapplicable.

    A. Google Cannot Use Product Design as a Shield Against Antitrust Scrutiny

        Google repeatedly invokes judicial deference to product design to fend off antitrust

scrutiny, most emphatically when it contests whether allegations regarding SVP advertising and

SA360 features are appropriately part of the States’ Section 2 claims. See, e.g., Google State

MSJ at 20, 23-5. Google tries to paint product design as a kind of sacred space where antitrust

has no role. This characterization expands beyond recognition any judicial deference that courts

give to innovation claims. It is contrary to the binding precedent of this Court and the policies

that shaped it.

        It is wrong for Google to assert that any admission by the States that a product is “useful”

is “fatal to [a Section 2] claim.” See Def. State MSJ at 24. No court has adopted a rule of per se

legality for product design choice. To the contrary, the binding precedent in this court is clear

that a product design, even if it includes an improvement, is not immune from antitrust scrutiny.

See Microsoft Corp., 253 F.3d at 65 (“Judicial deference to product innovation . . . does not

mean that a monopolist’s product design decisions are per se lawful.”). The Microsoft court

conducted a careful analysis of several of the company’s design choices, deciding antitrust

liability not on a blind blanket deference to product design, but only on the basis of the particular

facts of each example.

        Nor are Plaintiffs required, as Google suggests, to show that a product design’s sole

purpose is an anticompetitive one. This Circuit, among others, has rejected such a categorical

approach, instead choosing to apply the standard burden-shifting analysis under Section 2. In

product design claims, as with most other Section 2 claims, plaintiff’s initial showing of




                                                 12
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 18 of 28




anticompetitive effect puts the burden on the defendant to show procompetitive justification.

Only then does the burden shift back to plaintiffs to rebut and show that anticompetitive effect

outweighs its procompetitive justification. Microsoft, 253 F.3d at 65; see also Caldera, Inc. v.

Microsoft Corp., 72 F. Supp. 2d 1295, 1312–13 (D. Utah 1999) (“Particularly offensive to the

Court is the [defendant’s] assertion that . . . [its] conduct violates §2 of the Sherman Act only if

the design changes had no purpose and effect other than the preclusion of competition. This is

simply not true. . . . The standard actually . . . contemplates the effect the design choice has on

competition. It does not impose the much heavier burden on a plaintiff of demonstrating that a

design choice is entirely devoid of technological merit.”) (internal quotations omitted); Abbott

Lab’ys v. Teva Pharma, 432 F. Supp. 2d at 422 (“Contrary to defendant’s assertion, plaintiffs are

not required to prove that the new formulations were absolutely no better than the prior version

or that the only purpose of innovation was to eliminate the complementary product of a rival. . . .

[I]f plaintiffs show anti-competitive harm from the formulation changes, that harm will be

weighed against any benefits presented by defendants.”).

       Google tries to dispense with valid Section 2 claims by mischaracterizing the D.C.

Circuit precedent on product design. Google rests much of its product design argument on the

basis that Microsoft shares the same legal framework and rationale as a Ninth Circuit case, Allied

Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991 (9th Cir. 2010). See

Google State MSJ at 20- 2. But this is a highly inaccurate portrayal of the D.C. Circuit’s

standard. The D.C. Circuit in Microsoft did exactly what Google claims is forbidden by Allied

Orthopedic; it unambiguously balanced the “benefits or worth” of Microsoft’s design choice

against the “anticompetitive effect.” See Google State MSJ at 21; Microsoft, 253 F.3d at 65-7.

To take the case of Microsoft’s non-interoperable JVM, discussed at length by Google as an




                                                 13
       Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 19 of 28




example of the Microsoft court’s supposed “immunization” of product design, the Microsoft

court in fact concluded only that the facts on the record did not support Plaintiffs claim of

anticompetitive effect. Compare Google State MSJ at 20-1 with Microsoft, 253 F.3d at 65. Had

Plaintiffs had an adequate factual basis to show such an effect, as the D.C. Circuit earlier found

with respect to the design choices underlying Microsoft’s browser integration, the opinion made

clear that the standard balancing test would have applied. Microsoft, 253 F.3d at 65-7 (noting

that the “incompatible product must have an anticompetitive effect that outweighs any

procompetitive justification for the design”) (emphasis added). Contrary to Defendant’s

argument, the D.C. Circuit has no special standard for Section 2 claims involving product design,

and there is no basis to award summary judgment by importing one from a different circuit.

        Policy considerations also counsel against unthinking deference to Google’s design

choices. First, the primary concerns prompting judicial deference to product design are not

present in this case. As the Supreme Court has recognized, “antitrust analysis must always be

attuned to the particular structure and circumstances of the industry at issue.” Verizon

Commc’ns., Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 411 (2004). The cases

Google cites in favor of a high degree of deference to product design involve industries quite

different than Google’s. Google’s search results page is neither a medical device nor a complex

piece of computer hardware nor the power grid of a nuclear power plant.3 In cases involving

products like those, the challenged product design changes involved significant sunk costs,

including extensive research and/or regulatory approvals, costly investment in manufacturing

facilities, etc. In such instances, courts might worry about chilling those kinds of potentially

irretrievable investments should they get the competitive calculus wrong and condemn net-

3
  See Allied Orthopedic, 592 F.3d 991 (analyzing medical device); Cal. Comp. Prods., Inc. v. IBM, 613 F.2d 727
(9th Cir. 1979) (analyzing computer CPUs and disk products); Power Analytics Corp. v. Operation Tech., Inc., 820
F. App’x 1005 (Fed. Cir. 2020) (analyzing power grids).


                                                       14
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 20 of 28




beneficial innovations. But in digital markets, “predatory innovation” is different. As academics

have noted, digital markets differ from brick and mortar markets because “(t)he associated risks

and costs [of anticompetitive product design] are lower, and the potential profits higher, as

compared with traditional brick-and-mortar contexts. As a prescriptive matter, this militates in

favor of a less deferential standard than the antitrust enterprise has historically employed.” John

Newman, Antitrust in Digital Markets, 72 Vand. L. Rev. 1497, 1534 (2019).

       Leading antitrust authorities agree that digital markets, like the three in which Google has

a monopoly, hold the greatest potential of harm from exclusionary product design. Professor

Hovenkamp, cited out of context in the Google State MSJ, in fact writes that in markets with

significant network externalities, like those here, there is an increase in “both the incentive and

the opportunities for anticompetitive product redesigns.” Areeda & Hovenkamp, Antitrust Law

at ¶ 776c; see also Jonathan Jacobson, et al., Predatory Innovation: An Analysis of Allied

Orthopedic v. Tyco in the Context of Section 2 Jurisprudence, 23 Loyola Consumer L. Rev. 1, 8

(2010) (“There are two scenarios where an exclusionary redesign may be especially harmful: (a)

in the context of network markets . . . and (b) pharmaceutical markets. . . .”).

       The potential for harm—and, accordingly, the need for antitrust scrutiny—are even

greater where, as here, there is a market defect that prevents free consumer choice. The usual

judicial reluctance to evaluate product design is founded on the idea that buyers can freely

choose one product over another. Abbott Lab’ys, 432 F. Supp. 2d at 421 (noting that judicial

deference is based on “the success of those products is an open market, and the related

conclusion that the harm to competitors was a matter of consumer choice”). But search is no

open market. Substantial network effects and the barriers to entry erected by Google deprive

consumers of a meaningful choice. See, e.g., Complaint at ¶¶ 90-102 (describing barriers to




                                                 15
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 21 of 28




entry). Further, consumers do not make a straightforward trade-off between the price and quality

of one product versus another. The market for search involves far more than just dollars and

cents; consumers give Google their attention and both consumers and the SVPs give Google their

data. See, e.g., Complaint at ¶¶ 5, 6 (describing “attention economy”). The defaults that Google

invests billions of dollars are “sticky,” and the fact that people don’t change them “doesn't tell us

anything about their preference.” Tutorial Tr. at 52:15- 54:11. As a result, there is a significant

disconnect between price and product—that is, the consumer price/quality choice that disciplines

most traditional markets does not exist. See Katherine Strandburg, Free Fall: The Online

Market’s Consumer Preference Disconnect, U. Chicago L. Forum, 95, 96-7 (2013) (discussing

how consumer choice does not discipline digital markets because 1) they are zero-price, 2)

customers “cannot reasonably estimate the marginal disutility that particular instances of data

collection impose on them,” and 3) “online data collection and aggregation associated with the

behavioral advertising business model pose collective action problems”). As a result, the cases

on which Google relies for their proposed standard for judicial deference—involving markets

disciplined by free consumer choice—do not fit the facts here. See, e.g., Allied Orthopedic, 592

F.3d at 1002 (noting that court’s decision was based on “rational inference[s]” from some

customers’ non-compelled decision to adopt the new design); Cal. Comput. Prods., 613 F.2d at

744 (noting evidence that price and performance of redesigned processor unit offered an

advantage from the “buyer’s point of view”); Power Analytics Corp., 820 F. App’x at 1018

(noting court would not second guess what a buyer finds preferable or inferior “in the free

market” and distinguishing this deference from a scenario in which a monopolist “forces a

[customer] to adopt its product” or places “unreasonable impediments and conditions intended

to preclude and/or deter” customers’ substitution of its products). More fitting are cases where




                                                 16
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 22 of 28




courts have recognized that scrutiny of product design is necessary because “market forces

cannot operate . . . that is, in cases in which a single firm controls the entire market or in which a

monopolist engages in coercive conduct to affect consumer choice.” GAF Corp. v. Eastman

Kodak Co., 519 F. Supp.1203, 1228 (S.D.N.Y. 1981).

       Finally, this is far from being just a “product design” case. None of the precedent cited

by Google to argue for deference goes to the question of discrimination and interrelated

anticompetitive conduct at the heart of the States’ allegations. See, e.g., Complaint at ¶ 188

(“Google discriminates . . . by virtue of its differing treatment of specialized vertical providers

operating in different verticals.”). Each of the so-called “product design” cases Google cites

limits what deference it gives to the design standing alone, not to a defendant’s design

implementation or the restrictions placed on its use. In the case of the incompatible JVM in

Microsoft discussed above, for example, the D.C. Circuit affirmed that even if the incompatible

design itself was not an antitrust violation, the ways in which Microsoft used that incompatible

JVM were. In this way, the court found contracts that required developers to promote

Microsoft’s JVM exclusively and deceptive assurances of the neutrality of its tools to be

violations—all conduct that would not have had an anticompetitive effect if not for Microsoft’s

initial incompatible design choice. See Microsoft, 253 F.3d at 65.

       In fact, regardless of how a particular jurisdiction has articulated the relevant test, none

have refused to scrutinize product design changes when they involve associated anticompetitive

conduct. See Allied Orthopedics, 592 F.3d at 999 (clarifying that the introduction of a new and

improved product design would constitute a violation of Section 2 where “some associated

conduct . . . supplies the violation.”); Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263,

286 n.30 (2d Cir. 1979); New York ex rel. Schneiderman, 787 F.3d at 654 (“Under Berkey Photo,




                                                  17
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 23 of 28




when a monopolist combines product withdrawal with some other conduct, the overall effect of

which is to coerce consumers rather than persuade them on the merits, and to impede

competition, its actions are anticompetitive under the Sherman Act.”); In re Keurig Green

Mountain Single-Serve Coffee Antitrust Litig., 383 F. Supp. 3d 187, 230 (S.D.N.Y. 2019)

(denying motion to dismiss product design allegations because “the amended complaints are

filled with allegations of ‘associated conduct’—including, for example, allegations of exclusive

dealing, tying agreements, and product disparagement—the overall effect of which is to coerce

customers to purchase K-Cups over Competitor Cups, rather than to compete on the merits.”).

       The States’ allegations are not limited to the design of a search results page. Instead, they

describe a wide web of “associated conduct” deriving from that design that effectively excludes

potential competition. The conduct includes, for example, differential, discriminatory treatment

of SVPs in areas where Google has its own offerings and contracts that require SVPs to provide

Google with more data than necessary to implement OneBox. Complaint at ¶ 188

(discriminatory treatment), ¶¶ 193-7 (requirements for SVPs to provide data); see also Tutorial

Tr. at 128:1-129:10 (describing differing treatment of SVPs). When—as precedent demands—

the States’ allegations are taken as a whole, summary judgment should not be granted, regardless

of any judicial deference that may be given to the design of the product itself.

   B. Google Cannot Use “No Duty to Deal” to Obtain Immunity

       Google also aims to avoid antitrust scrutiny by isolating the States’ allegations about SVP

data contracts from other conduct that weakens SVPs as potential competitors. For instance, it

wrongly recharacterizes those allegations as a “price squeeze” claim so it can invoke Pacific Bell

Telephone Co. v. linkLine Communications, Inc., 555 U.S. 438 (2009). In reality, linkLine has

no role here. That case involved a company operating as both a wholesaler and a retailer.




                                                 18
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 24 of 28




Plaintiffs there claimed the monopolist used high pricing in the wholesale market and low

pricing in the retail market to deny its retail competitors a reasonable profit margin. In rejecting

their antitrust claims, the Supreme Court expressed concerns about dictating the price a company

would charge when it had no duty to deal with its competitors in the first place. Google does not

make clear why linkLine might apply here. Perhaps Google’s position is that its contractual

requirement that SVPs provide structured data is the “price” for linking to the SVPs website.

However, requiring a potential competitor to give up a significant competitive advantage is not,

by any stretch of the imagination, the same as merely charging a high price. Rather, that

requirement is better viewed as exclusionary conduct designed to make SVPs less likely to

compete with or partner with Google’s competitors. Entire bodies of Section 2 caselaw are

based on the distinction between contractual restrictions and high prices, including exclusive

dealing and tying. The Microsoft case itself stood for the proposition that a monopolist cannot

use its power over customers and distributors to require contractual conditions that stymie its

competitors.

        The same error applies to Google’s attempt to recast the States’ SVP claims as a variant

of an essential facility case in which Google has “no duty to provide its services free of charge to

competitors.” Google State MSJ at 31, 34. The States’ contention is not that Google should be

required to provide access to SVPs free of charge; it is that, as a monopolist, Google conditions

its services on conduct that diminishes current or potential competition. A monopolist’s refusing

to deal with competitors is fundamentally different from the monopolist conditioning a deal on

anticompetitive terms. Ignoring this difference would give a monopolist carte blanche to place

any contractual restrictions it sees fit as its “price” to its customers, regardless of the

anticompetitive effects.




                                                   19
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 25 of 28




       Rather than a variant of a refusal to deal, contractual restrictions are a pillar of Section 2

liability. Where a dominant firm’s willingness to deal is contingent on the other firm accepting

terms rather than exiting, the “proper focus” is on “the anticompetitive conduct that a willingness

to deal may be inducing others to engage in.” Dennis Carlton & Ken Heyer, Appropriate

Antitrust Policy Toward Single-Firm Conduct, Economic Analysis Group, Antitrust Div., U.S.

Dep’t of Just. (Discussion Paper No. 08-2, March 2008). The monopolist’s anticompetitive

terms of dealing matter because they can inhibit the monopolist’s rivals.

       For similar reasons, Google cannot hide behind the Supreme Court’s decision in Trinko,

540 U.S. 398 (2004). Trinko does not immunize Google from Section 2 liability for using its

SA360 platform to discriminate against its search advertising competitors. The States’ claim is

not that Google is required to design a platform that provides advertiser access to other search

engines. Rather, their claim is that once Google creates a product that links advertisers to

competitors’ search engines, it cannot wait until it becomes the largest such platform and then

degrade its service to its competitor to shift share to itself. At a minimum, the States’ allegations

establish a prior profitable course of dealing that excludes Google’s conduct from the Trinko

analysis. Id. at 409 (distinguishing Aspen Skiing as exception and noting importance of prior

course of conduct in refusal to deal analysis). The most accurate way to characterize Google’s

conduct is not as refusing to deal, but as conditioning its profitable dealing with search

competitors on discriminatory, anticompetitive terms.

       Furthermore, refusal to deal and essential facility cases should not protect Google

because States’ allegations do not implicate any of the policy concerns that led courts to curtail

antitrust liability. Specifically, the Supreme Court in Trinko spelled out three main concerns

with compelling a monopolist to deal with its competitors. None of them apply here.




                                                 20
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 26 of 28




       First, Trinko was concerned that forced sharing could “lessen[] the incentive for the

monopolist, the rival, or both to invest in those economically beneficial facilities.” Id. at 407-08.

Here, there is no such chilling effect. Google has already invested in both OneBox and SA360

knowing about and relying on the participation of current or potential competitors. Trinko and

the cases that follow it sought to protect procompetitive incentives to invest; they did not seek to

protect the incentives that might arise from dealing with competitors on anticompetitive terms.

       Second, Trinko worried that enforcing a duty to deal could “force[] courts to act as

central planners, identifying the proper price, quantity, and other terms of dealing.” Id. at 408.

However, in the case of both the OneBox and SA360, the States do not ask a court to police

proper price, quantity, or terms. Instead, States ask that this Court stop Google from

discriminating against its competitors and potential competitors in anticompetitive ways. No

central planner is needed; Google simply needs to cease its discriminatory practices.

       Finally, Trinko thought that forced sharing could “facilitate the supreme evil of antitrust:

collusion.” Id. Here, where Google is already voluntarily working with its competitors and

potential competitors through SA360, the probability of collusion would not increase if Google

were forced to drop the anticompetitive conditions on those relationships.

       In short, by trying to reframe the States’ allegations as a variant of a duty to deal claim,

Google mischaracterizes and co-opts a patchwork of cases on the limits of antitrust that are not

applicable as a matter of law or policy. Such a move should not shield Google from facing an

assessment of its antitrust liability based on the evidence.

                                          CONCLUSION

   Taken as a whole, Google’s bid for summary judgment is an attempt to dismember the

States’ case and jam each part into a box of the wrong size. Precedent and the policy




                                                 21
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 27 of 28




considerations behind it direct this Court to look behind Google’s façade and allow the States’

full case to proceed to trial.



                                                    Respectfully submitted,

                                                    /s/ Kathleen Bradish
                                                    KATHLEEN BRADISH
                                                    AMERICAN ANTITRUST INSTITUTE
                                                    1025 Connecticut Avenue, NW Suite 1000
                                                    Washington, DC 20036
                                                    (202) 304-0195
                                                    kbradish@antitrustinstitute.org



DATED: February 17, 2023




                                               22
      Case 1:20-cv-03010-APM Document 508-2 Filed 02/17/23 Page 28 of 28




                                CERTIFICATE OF SERVICE



       I hereby certify that on February 17, 2023, I electronically filed a true and correct copy of

the foregoing BRIEF OF AMICUS CURIAE THE AMERICAN ANTITRUST INSTITUTE

with the Clerk via the CM/ECF system which will send notification of such filing and service

upon all counsel of record.




                                                     By: /s/ Kathleen Bradish

                                                     KATHLEEN BRADISH
                                                     AMERICAN ANTITRUST INSTITUTE
                                                     1025 Connecticut Avenue NW, Suite 1000
                                                     Washington, DC 20036
                                                     (202) 304-0195
                                                     kbradish@antitrustinstitute.org
                                                     Counsel to Amicus Curiae




                                                23
